Case 2:15-cv-01869-SVW-AJW Document 168-1 Filed 01/14/16 Page 1 of 3 Page ID
                                #:17193




                          EXHIBIT 1
Middle District of Florida Live Database                                https://ecf.flmb.uscourts.gov/cgi-bin/DktRpt.pl?901715707028395-L_1_0-1
                Case 2:15-cv-01869-SVW-AJW Document 168-1 Filed 01/14/16 Page 2 of 3 Page ID
                                                #:17194
                                                                           DebtEdDue, MEANSNO


                                                    U.S. Bankruptcy Court
                                               Middle District of Florida (Tampa)
                                           Bankruptcy Petition #: 8:16-bk-00265-KRM
                                                                                          Date filed: 01/13/2016
         Assigned to: K. Rodney May
         Chapter 7
         Voluntary
         Asset



         Debtor                                                                 represented by Suzy Tate
         Amit Bhalla                                                                           Suzy Tate, P.A.
         3102 W. El Prado Blvd., Unit 1                                                        14502 North Dale Mabry
         Tampa, FL 33629                                                                       Highway
         HILLSBOROUGH-FL                                                                       Suite 200
         SSN / ITIN: xxx-xx-2363                                                               Tampa, FL 33618
                                                                                               (813) 264-1685
                                                                                               Fax : 813 540 8024
                                                                                               Email: suzy@suzytate.com

         Trustee
         Douglas N Menchise
         2963 Gulf to Bay Boulevard
         Suite 300
         Clearwater, FL 33759
         727-797-8384

         U.S. Trustee
         United States Trustee - TPA7/13
         Timberlake Annex, Suite 1200
         501 E Polk Street
         Tampa, FL 33602
         813-228-2000


            Filing Date                    #                                           Docket Text

                                               1          Voluntary Petition under Chapter 7. (Fee Paid.). Schedules A-F and
                                               (21 pgs)   Summary of Assets. Statement of Financial Affairs Not Filed.
                                                          Disclosure of Compensation Not Filed or Not Required. Statement
                                                          of Income and Means Test Calculation Not Filed. Filed by Suzy
          01/13/2016                                      Tate on behalf of Amit Bhalla. (Tate, Suzy) (Entered: 01/13/2016)




1 of 2                                                                                                                     1/14/2016 10:14 AM
Middle District of Florida Live Database                                  https://ecf.flmb.uscourts.gov/cgi-bin/DktRpt.pl?901715707028395-L_1_0-1
                Case 2:15-cv-01869-SVW-AJW Document 168-1 Filed 01/14/16 Page 3 of 3 Page ID
                                                #:17195
                                                        Receipt of Filing Fee for Voluntary Petition (Chapter 7)(8:16-
                                                        bk-00265) [misc,volp7a2] ( 335.00). Receipt Number 48455532,
          01/13/2016                                    Amount Paid $ 335.00 (U.S. Treasury) (Entered: 01/13/2016)

                                           2            Certificate of Credit Counseling. Date Course was Completed:
                                           (1 pg)       01/13/2016. Filed by Suzy Tate on behalf of Debtor Amit Bhalla.
          01/13/2016                                    (Tate, Suzy) (Entered: 01/13/2016)

                                                        Assignment of the Honorable K. Rodney May, Bankruptcy Judge to
                                                        this case. The Trustee appointed to this case is Douglas N Menchise
          01/14/2016                                    . (autojtr) (Entered: 01/14/2016)




                                                         PACER Service Center
                                                            Transaction Receipt
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                                      Pages:




2 of 2                                                                                                                       1/14/2016 10:14 AM
